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                                   4                                UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                        PATRICK CONNALLY,
                                   7                                                       Case No. 15-cv-06313-SK
                                                      Plaintiff,
                                   8
                                                v.                                         ORDER DENYING REQUEST TO
                                   9                                                       APPEAR TELEPHONICALLY
                                        ALCOS FAMOUS MARKET DELI &
                                  10    BAKERY, et al.,
                                                                                           Regarding Docket No. 17
                                  11                  Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          Before the Court is a last minute request by counsel for Plaintiff to appear telephonically at

                                  14   the June 1, 2016 hearing regarding the Motion to Substitute. (Dkt. 14.) Because the motion was

                                  15   brought by Plaintiff and because Plaintiff’s counsel has provided no reason for appearing

                                  16   telephonically, the request is hereby DENIED without prejudice.

                                  17          IT IS SO ORDERED.

                                  18   Dated: May 31, 2016

                                  19                                                   ______________________________________
                                                                                       SALLIE KIM
                                  20                                                   United States Magistrate Judge
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